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                           IN THE UNITED STATES DISTRICT COURT
                           FOR THE MIDDLE DISTRICT OF ALABAMA p E
                            NORTHERN DIVISION AT MONTGOMERY

 AMERICAN SOUTHERN INSURANCE
                                                                             20t9 MAR lu A 11: 18
 COMPANY,
                                                                            13CaRA PAACKETT.
                                                                                              COURT
             Plaintiff,                                                            ... DIST PACT ALA

 v.                                                         Case No.

 KHDM CONSTRUCTION,LLC AND                                    a IP CV-Pe)5-8,016
 MATTHEW L. MCCARTY,

             Defendants.


                   COMPLAINT FOR INDEMNITY AND EQUITABLE RELIEF


            Plaintiff American Southern Insurance Company (``ASIC" or "Surety"), by and through

counsel, states the following for its Complaint for Indemnity and Equitable Relief against

Defendants KHDM Construction, LLC (the "Principal") and Matthew L. McCarty (the Principal

and Mr. McCarty collectively, the "Indemnitors"):

                                             I.     PARTIES

            1.     ASIC is a Colorado corporation with its principal place ofbusiness in Cobb County,

Georgia, which is the location from which ASIC's high-level officers direct, control, and

coordinate ASIC's corporate activities. Thus, ASIC is a citizen of Colorado and a citizen of

Georgia for purposes of diversity jurisdiction.

            2.     Upon information and belief, the Principal (i.e., KHDM Construction, LLC)is an

Alabama limited liability company whose members are citizens of Alabama. Thus, the Principal

is a citizen of Alabama for purposes of diversity jurisdiction.

            3.     Upon information and belief, Mr. McCarty is a citizen of Alabama.




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                                II.      JURISDICTION AND VENUE

            4.   This Honorable Court possesses original jurisdiction over ASIC's Complaint for

Indemnity and Equitable Relief pursuant to 28 U.S.C. § 1332(a) because the matter in controversy

exceeds the sum or value of$75,000, exclusive of interest and costs, and the matter in controversy

is between citizens of different states.

            5.   This Honorable Court possesses the power to declare the respective rights and other

legal relations of ASIC and the Indemnitors as requested herein pursuant to 28 U.S.C. § 2201(a).

            6.    Venue is proper in the United States District Court for the Middle District of

Alabama,Northern Division ofAlabama,pursuant to 28 U.S.C.§ 1391(b)and 28 U.S.C.§ 81(b)(1)

because (1) the Indemnitors reside in the Middle District of Alabama, Northern Division of

Alabama, and the Indemnitors are residents of Alabama and/or(2)the Indemnitors are subject to

personal jurisdiction in the Middle District of Alabama, Northern Division of Alabama.

                                  III.     FACTUAL ALLEGATIONS

                                      The Indemnity Agreement

            7.    As a condition of ASIC's issuance of surety bonds on behalf of the Principal, the.

Indemnitors (and others) executed the General Agreement of Indemnity attached hereto as

Exhibit 1 (the "Indemnity Agreement")in favor of ASIC on or about August 5, 2011.

            8.   The Indemnity Agreement defines the term "Bone as "[a]ny contractual obligation

undertaken by the Surety or Principal as principal, joint venturer or any other capacity, before or

after the date of this Agreement, and any renewal or extension of said obligation."

            9.   The Indemnity Agreement defines the term "Principal" as "[t]he person or entity

set forth above or any one or combination thereof, or their successors in interest, whether alone or




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in joint venture with others named herein or not." The Indemnity also specifically identifies the

Principal (i.e., KHDM Construction, LLC)as the 'Principal" thereunder.

            10.    The Indemnity Agreement defines the term "Surety" as "American Southern

Insurance Company, its reinsurers, and any other person or entity which the Surety may procure

to act as surety or co-surety on any Bond or any other person or entity who executes any Bond at

its request."

            11.    The Indemnity Agreement defines the term "Contract" as "[a]ny agreement of

Principal, the performance of which is bonded by Surety."

            12.    With respect to the Indemnitors' duty to pay premiums for Bonds to ASIC,

Paragraph 2 of the Indemnity Agreement, entitled "INDEMNITY," states, in relevant part:

            The Indemnitors will pay, when due, all premiums for each of such Bonds in
            accordance with the Surety's regular rates in effect on the date such bonds becomes
            effective, as long as liability thereunder shall continue, and until the Surety is
            furnished with evidence satisfactory to the Surety of its discharge or release from
            the Bonds, or of all liability by reason thereof.

            13.    With respect to the Indemnitors' duty to indemnify and save ASIC harmless from

and against any and all liability/loss/etc. arising from Bonds, Paragraph 2 of the Indemnity

Agreement further states, in relevant part:

            The Indemnitors agree and bind themselves, their heirs, executors, administrators,
            successors and assigns, jointly and severally, to indemnify and save harmless
            Surety from and against any and all liability, loss, costs, damages or expenses of
            whatever nature or kind and arising out of or in any way connected to such Bonds,
            including but not limited to fees of attorneys and other expenses, costs and fees of
            investigation, adjustment of claims, procuring or attempting to procure the
            discharge of such bonds in attempting to recover losses or expenses from
            Indemnitors or third parties, whether the Surety shall have paid or incurred same,
            as aforesaid. The Indemnitors will indemnify the Surety against any and all
            liability, loss, damages,fees of attorneys, and other expenses which the Surety may
            sustain or incur by reason of or reliance upon representations made by the
            Indernnitors regarding defenses available to Principal and/or Surety to claims made
            against such Bonds.




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            14.     With respect to ASIC's right to settle/pay claims in its sole discretion, Paragraph

2.A. ofthe Indemnity Agreement states:

            Surety shall have the right in its sole discretion to determine whether any suits or
            claims shall be paid, compromised, defended, prosecuted or appealed and to pay
            out such sums as it deems necessary to accomplish any of those purposes and its
            determination as to whether such suit or claim should be settled or defended shall
            be binding and conclusive on Itidemnitors. Surety shall have the right to incur such
            expenses and handling a claim as it shall deem necessary, including but not limited
            to the expense for investigative, accounting, engineering and legal services.. Surety
            shall have the foregoing rights, irrespective of the fact that Indemnitors may have
            assumed, or offered to assume, the defense of Surety appoint such claim. In any
            claim or suit hereunder, an itemized statement of aforesaid loss and expense, sworn
            to by an officer or agent of Surety, or the vouchers or other evidence of
            disbursement by Surety, shall be prima facie evidence ofthe fact and extent ofthe
            liability hereunder of Indemnitors.

            15.     With respect to the events of "Default" by the Indemnitors, Paragraph 3 of the

Indemnity Agreement, entitled "DEFAULT," states:

            This Agreernent shall be in Default upon the breach by any Indemnitor of any
            provision hereof or up on the breach by Principal of the provisions of any Bond or
            Contract or ofthe application for any Bond, including but not limited to, any ofthe
            following events of default:

            A.    Principal breaches, abandons or repudiates any Contract.
            B.    Any Obligee under any Bond clears Principal to be in Default.
            C.    Principal fails to pay for bond premium, labor or materials one such
                  payment is due.
            D.    Principal diverse any Contract funds from one Contract to another, prior to
                  the complete discharge of Surety.
            E.    Principal, or any Indemnitor, breaches any provision of this Agreement, of
                  any Bond or any application for any Bond.
            F.    Principal, or any Indemnitor, becomes the subject of any agreement or
                  proceedings or composition, insolvency, bankruptcy, receivership,
                  trusteeship, or assignment for creditors.
            G.    Principal, or any Indemnitor, becomes actually insolvent.
            H.    Principal, if an individual, dies, is adjudged mentally incompetent, convicted
                  of a felony, becomes a fugitive from justice or disappears and cannot be
                  located with usual methods.




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            16.      With respect to ASIC's remedies for the Indemnitors "Default," Paragraph 4 ofthe

Indemnity Agreetnerit, entitled "REMEDIES UPON DEFAULT," states:

            In the event of Default, as defined above, or if Surety deems itself insecure, Surety
            may at its option and sole discretion and without notice or demand, any right to
            which Indemnitors expressly waive,

            A.     Take over any Contract and complete it or arrange for its completion, all at
                   the expense of Indemnitors.
            B.     Take possession of Principal's equipment, materials and supplies at the site
                   ofthe work or elsewhere, and utilize the same for completion ofany Contract.
            C.     Take possession of the office equipment, books and records of Principal as
                   are necessary for completion of any Contract.
            D.     Loan such funds, guarantee a loan for such funds, as Surety shall deem
                   necessary for the completion of any Contract and for the discharge of Surety
                   in connection with the Contract. Repayment ofsuch loan shall be covered by
                   the indemnity hereunder.
            E.     Immediately demand that any Indemnitor perform any or all of said
                   Indemnitor's obligations under this Agreement.
            F.     File an immediate suit to enforce the provisions of this Agreement.

            17.      With respect to the Indemnitors' duty to collateralize ASIC upon demand,

Paragraph 5 of the Indemnity Agreement, entitled "COLLATERAL SECURITY," states:

            If a claim is made against Surety, or if the Surety deems itself insecure or otherwise
            in its sole discretion deems it necessary to establish a reserve for potential claims,
            and upon demand from Surety, Indemnitors shall deposit with Surety cash or other
            property acceptable to Surety, as collateral security, inšufficient amount to protect
            Surety with respect to such claim or potential claims and any expense or attorneys'
            fees. Such collateral may be applied to any indebtedness of Indemnitors hereunder
            or held by Surety until it has received evidence of its complete discharge from such
            claim or potential claims, and until it has been fully reimbursed for all loss, expense
            and attorneys' fees. Surety shall have no obligation to invest, or to provide a return
            on, the deposit.

            1 8.     With respect to the joint and several nature of the Indemnitors' duty/obligations

thereunder, Paragraph 8.A. of the Indemnity Agreement states, "The obligations of Indemnitors

hereunder are joint and several. Surety may bring separate suits hereunder against any or all of

the Indemnitors as causes of action may accrue hereunder. Surety need not proceed first against

Principal."



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            19.     With respect to the applicable law for interpreting/governing the Indemnitors'

duties and pbligations,Paragraph 10 ofthe Indemnity Agreement,entitled"GOVERNING LAW,"

states, "This Agreement shall be interpreted and governed in all respects in accordance with the

laws of the State of Georgia."

                           ASIC'S Bonds and Losses/Exposure Thereunder

            20.    In reliance upon the Indemnitors' (and others') execution of the Indemnity

Agreement in ASIC's favor and in reliance upon ASIC's rights under the Indemnity Agreement,

ASIC issued the following surety bonds on behalf of the Principal:

                                                                                Bonded Contract
                  Bond               Penal Sum               Obligee
                                                                                     No.
                                                         United States of
     Payment Bond 62880              $921,425.32                                  P14PC00453
                                                            America
                                                         United States of
  Perfonnance Bond 62880             $921,425.32                                  P14PC00453
                                                            America
                                                         United States of
     Payment Bond 63597              $369,458.00                               N69450-15-C-7137
                                                            America
                                                         United States of
  Performance Bond 63597             $369,458.00                               N69450-15-C-7137
                                                            America
                                                         United States of
     Payment Bond 64375              $110,360.00                                   P15-000884
                                                            America
                                                         United States of
  Performance Bond 64375             $110,360.00                                   P15-000884
                                                            America

            21.    To date, ASIC has already paid $824,846.55 for the following losses and liabilities

arising out of and/or in connection with the Principal's Bonds:

          Claimant                           Amount Paid                         Bond
   Mid-South Construction                     $66,607.00                  Payment Bond 62880
        Keatts Electric                        $3,577.86                  Payment Bond 67880
   Nashville Mach Elevator                    $54,520.00                  Payment Bond 62880
        JWR Painting                          $15,816.00                  Payment Bond 62880 _
       PTL Fabricators                        $34,539.00                  Payment Bond 62880
     City Electric Supply                     $61,119.33                  Payment Bond 63597
      Panhandle Electric                      $10,005.49                  Payment Bond 63597
        H.R. Allen Inc                        $37,100.00                  Payment Bond 64375
  USA National Park Service                  $541,561.90                Performance Bond 62880



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            22.   In addition to   the payments it has made under the Principal's Bonds, ASIC has
incurred fees ofattorneys and consultants arising out ofor in connection with the Principal's Bonds

in an amount to be proven in this action, which currently exceed $27,500, and ASIC continues to

incur fees of attorneys and consultants arising out of or in connection with the Principal's Bonds.

            23    ASIC also continues to face exposure to the obligees under the Principal's Bonds

and/or may receive additional claims from the Principal's subcontractor/suppliers under the

Principal's Bonds.

                                      IV.    CLAIMS FOR RELIEF

                         COUNT I — Breach of the Indemnitv Agreement

            24.   ASIC hereby restates the allegations contained in the foregoing paragraphs of this

Complaint for Indemnity as if fully set forth herein.

            25.   Under Paragraph 2 ofthe Indemnity Agreement,as more fully set forth therein, the

Indemnitors are jointly and severally obligated to pay, when due, all premiums for each of the

Principal's Bonds in accordance with the ASIC's regular rates in effect on the date the Principal's

Bonds became effective because ASIC's potential liability under the Principal's Bonds has not

been extinguished and/or the Indemnitors have not furnished ASIC with evidence of ASIC's

discharge or release from the Principal's Bonds.

            26.   The Indemnitors have materially breached Paragraph 2 ofthe Indemnity Agreement

by failing and/or refusing to pay, when due, all premiums for each of the Principal's Bonds in

accordance with the ASIC's regular rates in effect on the date the Principal's Bonds, which has

proximately caused ASIC to sustain/incur damages in an amount to be proven in this action.

            27.   Under Paragraph 2 the Indemnity Agreement, as more fully set forth therein, the

Indemnitors are jointly and severally obligated to indemnify and save harmless ASIC from and




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against any and all liability, loss, costs, damages or expenses ofwhatever nature or kind and arising

out of or in any way connected to the Principal's Bonds, including but not limited to fees of

attorneys and other expenses, costs and fees of investigatión, adjustment of claims, procuring or

attempting to procure the discharge ofsuch bonds in attempting to recover losses or expenses from

Indemnitors or third parties, whether the ASIC shall have paid or incurred same, as aforesaid.

            28.   To date, ASIC has incurred and continues to incur liability, loss, costs, damages or

expenses of whatever nature or kind and arising out of or in any way connected to the Principal's

Bonds, including but not limited to fees of attorneys and other expenses, costs and fees of

investigation, adjustment ofclaims, procuring or attempting to procure the discharge ofsuch bonds

in attempting to recover losses or expenses from Indemnitors or third parties in an amount to be

proven in this action, which currently exceed $825,000.

            29.   The Indemnitors have materially breached Paragraph 2 ofthe Indemnity Agreement

by failing and/or refusing to indemnify and save harmless ASIC from arid against any and all

liability, loss, costs, damages or expenses of whatever nature or kind and arising out of or in any

way connected to the Principal's Bonds, including but not limited to fees of attorneys and other

expenses, costs and fees ofinvestigation, adjustment ofclaims, procuring or attempting to procure

the discharge of such bonds in attempting to recover losses or expenses from Indemnitors or third

parties, which has proximately caused ASIC to sustain/incur damages in an amount to be proven

in action that currently exceeds $825,000.

            30.   Therefore, ASIC is entitled to the entry ofjudgment against the Indemnitors,jointly

and severally, in an amount sufficient to reimburse ASIC for all unpaid premiums and sufficient

to indemnify and save harmless ASIC from and against any and all liability, loss, costs, damages

or expenses of whatever nature or kind and arising out ofor in any way connected to the Principal's




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Bonds, including but not limited to fees of attorneys and other expenses, costs and fees of

investigation, adjustment ofclaims, procuring or attempting to procure the discharge ofsuch bonds

in attempting to recover losses or expenses from Indemnitors or third parties in an amount to be

proven in this action that currently exceeds $825,000.

                       COUNT II — Equitable Indemnitv, Reimbursement,and
                                Exoneration Against the Principal

            31.    ASIC hereby restates the allegations contained in the foregoing paragraphs of this

Complaint for Indemnity as if fully set forth herein.

            32.    Pursuant to its common law right of exoneration, indemnification, and

reimbursement, ASIC is entitled to exoneration, indemnification, and/or reimbursement from the

Principal, as the principal on the Principal's Bonds, for all loss suffered by ASIC, as surety, by

reason of having issued the Principal's Bond on behalf ofthe Principal.

            33.    Therefore, the Principal is liable to ASIC for all losses suffered and anticipated to

be suffered by ASIC by reason of having issued the Principal's Bond on behalf of the Principal,

which amount currently exceeds $825,000 and will be proven in this action.

            WHEREFORE,PREMISES CONSIDERED,ASIC prays for the following relief:

            a) for the issuance of process requiring each of the Indemnitors to answer ASIC's
               Complaint for Indemnity;

            b) for the entry ofjudgment against the Indemnitors,jointly and severally, in an amount
               sufficient to reimburse ASIC for all unpaid premiums and sufficient to indemnify and
               save harrnless ASIC from and against any and all liability, loss, costs, darnages or
               expenses of whatever nature or kind and arising out of or in any way connected to the
               Principal's Bonds, including but not limited to fees of attorneys and other expenses,
               costs and fees ofinvestigation,adjustment ofclaims, procuring or attempting to procure
               the discharge of such bonds in attempting to recover losses or expenses from
               Indemnitors or third parties in an amount to be proven in this action that currently
               exceeds $825,000;

            c) for the entry ofjudgment against the Principal for all losses suffered and anticipated to
               be suffered by ASIC by reason of having issued the Principal's Bond on behalf of the
               Principal, which amount currently exceeds $825,000 and will be proven at trial;


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            d) For such further relief, both general and specific, as may be appropriate in accordance
               with the nature of this cause including, but not limited to, pre-judgment and post-
               judgment interest.



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